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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

JOHN MATTHEW COOK, ELLYSMAR
GÓMEZ-LUZARDO,

Plaintiffs,

                         v.                           Civil No.: 14-cv-01544 (CCC)

F. GERARDO LARREA-OLOZAGA, JUAN A.                    RE: purported federal securities fraud,
LARREA-FRENCH, CARIBBEAN GLAZE                        breach of fiduciary duties, declaratory
CORPORATION, GLAZE ON INVESTMENT,                     judgment, derivative and direct action
INC., LUIS ARENAS, ALEJANDRO D. CERDA,
IVELISSE BORRERO DE CORDOVÉS,
ARTURO FERNÁNDEZ, FELIPE FLORES-
ROLÓN, FRANCISCO GERARDO LARREA-
FRENCH, MARÍA LARREA-FRENCH,
GILBERTO MARXUACH, JACOBO ORTIZ
MURIAS, ANICETO SOLARES-RIVERO Y
FERNANDO L. TORO,

Defendants.


                        MOTION IN COMPLIANCE WITH ORDERS

TO THE HONORABLE COURT:

        Co-defendants, Gerardo Larrea-Olozaga and Juan A. Larrea-French, through undersigned

counsel, respectfully state and request as follows:

        1.       On October 22 and 23, 2014, the Court ordered co-defendants Larrea-Olozaga

and Larrea-French to submit: (1) the Motion for Reconsideration and/or Relief from Judgment

filed on May 27, 2014 in Civil No. K PE2013-5152 (904); (2) the Order resetting the September

4, 2014 hearing for October 23, 2014 in Civil No. K PE2013-5152 (904); and (3) the

Counterclaim filed by Larrea-Olozaga and Larrea-French in Civil No. K PE2013-5152 (904).

Dockets No. 40 and 45.
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           2.       In compliance with the Orders issued by the Court, the appearing co-defendants

submit the following certified English translations of the state court documents requested:

                    Exhibit A - Counterclaim1 filed by Larrea-Olozaga and Larrea-French on
                    December 2, 2014 in Civil No. K PE2013-5152 (904).

                    Exhibit B - Motion for Reconsideration and/or Relief from Judgment filed by
                    Larrea-Olozaga and Larrea-French on May 27, 2014 in Civil No. KPE2013-5152
                    (904).

                    Exhibit C - Exhibit A of Motion for Reconsideration and/or Relief from
                    Judgment.

                    Exhibit D - Order setting oral argument for September 4, 2014 and listing
                    motions to be addressed issued in Civil No. KPE2013-5152(904).

                    Exhibit E - Order resetting oral argument for October 23, 2014 issued in Civil
                    No. KPE2013-5152(904).

           3.       The Counterclaim filed at the San Juan Court includes 15 exhibits that, because of

their volume and short amount of time given for the translations, are not included with the

certified English translation of the Counterclaim submitted today. The appearing co-defendants

request until October 31, 2014 to file certified English translations of the exhibits.

           WHEREFORE, Larrea-Olozaga and Larrea-French request that the Honorable Court take

notice of the above and grant them until October 31, 2014 to file certified English translations of

the exhibits of the Counterclaim.

           Respectfully submitted.

           In San Juan, Puerto Rico, this 27th day of October, 2014.

           CERTIFICATION: An electronic copy of the foregoing was filed with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to all attorneys of

record.



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    A certified English translation of page 47 of the Counterclaim was included by Plaintiffs’ in Docket No. 6-3.

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